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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.     25-CR-20018-FAM

 UNITED STATES OF AMERICA,

       Plaintiff,
 v.

 MARIA JOSE ZACARIAS SABA.

      Defendant.
 ____________________________________/

                      DEFENDANT=S INVOCATION OF
                    RIGHTS TO SILENCE AND COUNSEL

       The defendant named above does hereby invoke his or her rights to

 remain silent and to counsel with respect to any and all questioning or

 interrogation, regardless of the subject matter, including, but not limited

 to:   matters that may bear on or relate to arrest, searches and seizures,

 bail, pretrial release or detention, evidence at trial, guilt or innocence,

 forfeitures; or that may        be relevant to sentencing, enhanced

 punishments, factors applicable under the U.S. Sentencing Guidelines,

 restitution, immigration status or consequences resulting from arrest or

 conviction; appeals or other post-trial proceedings.

       The Defendant requests that the United States Attorney ensure

 that this invocation of rights is honored, by forwarding a copy of it to all

 law enforcement agents, government officials, or employees associated
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 with the investigation of any matters relating to the defendant. Any

 contact with the Defendant must be made through the defendant=s

 lawyer, undersigned counsel.

                              Respectfully Submitted,

                              HECTOR DOPICO
                              FEDERAL PUBLIC DEFENDER

                              BY: /s/Ashley Kay
                                    Ashley Kay
                                    Assistant Federal Public Defender
                                    Florida Bar Number: 78991
                                    150 West Flagler Street
                                    Suite 1700
                                    Miami, Florida 33130-1556
                                    Tel: 305-530-7000
                                    Fax: 305-536-4559
                                    Ashley_kay@fd.org
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                      CERTIFICATE OF SERVICE

       I HEREBY certify that on February 5, 2025, I electronically filed
 the foregoing document with the Clerk of the Court using CM/ECF. I
 also certify that the foregoing document is being served this day on all
 counsel of record via transmission of Notices of Electronic Filing
 generated by CM/ECF or in some other authorized manner for those
 counsel or parties who are not authorized to receive electronically Notices
 of Electronic Filing.



                              By: s/ Ashley Kay
